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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

 RUTHIE WALLS; COLTON GILBERT; JENNIFER
 REYNOLDS, as Next Friend of SADIE
 ANNABELLA      REYNOLDS;       CHANDRA
 WILLIAMS DAVIS, as Next Friend of GISELE
 DAVIS; and ARKANSAS STATE CONFERENCE                          Case No.: 4:24-cv-00270-LPR
 OF THE NAACP,
                                                               Oral Argument Requested
                        Plaintiffs,
                                                               Expedited Relief
v.                                                             Requested

 HON. SARAH HUCKABEE SANDERS, in her
 official capacity as Governor of the State of Arkansas;
 and JACOB OLIVA, in his official capacity as
 Secretary of the Arkansas Department of Education,
 Arkansas State Board Members in their official
 capacity:       SARAH         MOORE,           KATHY
 MCFETRIDGE-ROLLINS, ADRIENNE WOODS,
 RANDY HENDERSON, LISA HUNTER, JEFF
 WOOD, KEN BRAGG, and LEIGH S. KEENER,


  PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION AND REQUEST FOR
               EXPEDITED BRIEFING AND CONSIDERATION


       Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs Ruthie Walls, Colton Gilbert,

Jennifer Reynolds as Next Fried of Sadie Annabella Reynolds, Chandra Williams Davis as Next

Friend of Gisele Davis, and the Arkansas State Conference of the NAACP (“NAACP-AR”),

respectfully move the Court to issue a preliminary injunction preventing Defendants and their

agents from enforcing Section 16 of the LEARNS Act, codified as Ark. Code Ann. § 6-16-156,

during the pendency of this litigation.

       As further discussed in Plaintiffs’ Memorandum in Support of Plaintiffs’ Motion for

Preliminary Injunction, Section 16, titled “Indoctrination,” is a law enacted by the State of



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Arkansas that unconstitutionally restricts the due process and First Amendment rights of teachers

to have adequate notice of how to comply with Section 16 and the First Amendment rights of

students to receive information and ideas. On its face and as applied by Defendants Gov. Sanders,

Secretary Oliva, and the Arkansas Board of Education, Section 16 is unconstitutional and this

Court must issue a preliminary injunction to protect and restore the rights of students and teachers,

including Student and Teacher Plaintiffs.

       Plaintiffs request expedited consideration of their motion to restore the First and Fourteenth

Amendment rights of Student and Teacher Plaintiffs. First, remedying the ongoing violation of

Plaintiffs’ constitutional rights “is always in the public interest to protect constitutional rights.”

Phelps-Roper v. Nixon, 509 F.3d 480 (8th Cir. 2007), modified on reh’g, 545 F.3d 685, 689 (8th

Cir. 2008). Therefore, expedition is appropriate, especially as the First Amendment is at stake.

       Second, and as further discussed in Plaintiffs’ Memorandum in Support, both Teacher

Plaintiffs have upcoming student presentations, beginning on April 25, 2024, for Ms. Walls, a high

school AP African American Studies teacher; and in May for Mr. Gilbert, a high school debate

teacher. Their students, including Student Plaintiffs Gisele Davis, Sadie Annabella Reynolds, and

student members of the NAACP-AR (collectively, “Student Plaintiffs”), will be presenting on

topics that could be subjectively interpreted as running afoul of the vague provisions of Section

16. These topics, selected by the students, include but are not limited to the role of men in

governing health care decisions for women, Black women civil rights leaders, where intersectional

issues of gender and race will be discussed, and the history of slave codes and its impact on racial

inequality today. Because of the vague provisions of Section 16 and Defendants’ own arbitrary

enforcement of the law, Teacher Plaintiffs are highly concerned that if they assist their students in

preparing for these presentations, they could be sanctioned by Defendants for “promoting



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indoctrination” in the public schools. Both Teacher and Student Plaintiffs need the Court to

consider their claims within the next two weeks to ensure Teacher Plaintiffs are not targeted and

sanctioned for violating Section 16.

       Third, students, including Student Plaintiffs, have been denied the benefits and privileges

of the Advanced Placement African American Studies (“AP AAS”) course since Defendant

Secretary Jacob Oliva pulled down the course as an “advanced placement” (“AP”) course just three

days before the school year began. According to Defendant Oliva, he believed that the course may

violate Section 16 of the LEARNS Act. Although he and the Arkansas Department of Education

were provided copies of the curriculum by Ms. Walls and the College Board following Oliva’s

request, to date, the teachers and students are still waiting on a decision on whether the course’s

AP designation will be restored. Students will soon be graduating without the “advanced

placement” designation, which will impact their transcripts (and subsequent college and

scholarship applications), their grade point averages, graduation credits, and the cost of the AP

exam will not be covered by the State, unlike the other AP subjects. AP AAS is the only AP course

singled out in this manner by Defendants.

       In addition, and as discussed in Plaintiffs’ Memorandum, Ms. Walls has censored parts of

her instruction throughout the year as a result of Section 16 and Defendants’ arbitrary enforcement

noted above. Ms. Walls’ nearly 100 students, including Student Plaintiffs, are scheduled to take

the AP AAS exam on May 14, 2024. In order for Ms. Walls to be able to fully prepare students for

the exam, she needs the security of an injunction by this Court. Student Plaintiffs also have the

opportunity to earn college credit if they score high enough and need all the teaching and

preparation their teacher has to offer to achieve their fullest potential on the exam.




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          Because the “State has no interest in enforcing laws that are unconstitutional,” (Little Rock

Family Planning Servs. V. Rutledge, 397 F. Supp. 3d. 1213, 1322 (E.D. Ark. 2019)), Plaintiffs

respectfully request that this Court expedite briefing and consideration of their motion.

          Plaintiffs’ Memorandum of Law in Support of the Motion demonstrates that Plaintiffs are

likely to prevail on the merits of their claims, a preliminary injunction is necessary to prevent

irreparable harm to Plaintiffs, and such a preliminary injunction is in the public interest.

          In support of this Motion, Plaintiffs submit the following:

          1. Memorandum of Law in Support of Plaintiffs’ Motion for a Preliminary Injunction

          2. Declaration of Sarah Baum (and accompanying exhibits)

          3. Declaration of Ruthie Walls

          4. Declaration of Colton Gilbert

          5. Declaration of Sadie Annabella Reynolds

          6. Declaration of Gisele Davis

          Finally, should the Court consider the need for a bond from Plaintiffs, the Court should

waive the bond requirement under Federal Rule of Civil Procedure 65(c). The granting of a

preliminary injunction to restore First and Fourteenth Amendments is in the public’s interest and

will not damage or cost Defendants in any meaningful way that would support the requirement of

a bond.




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Dated: April 12, 2024                      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on April 12th, 2024, the foregoing was filed through the Court’s CM/ECF
system and will be served on all parties of record via hand-delivery on April 15, 2024:

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